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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


DATA CARRIERS, LLC,

              Plaintiff,
                                                       C.A. No. 12-cv-00345-LPS
       v.
                                                       JURY TRIAL DEMANDED
RESEARCH IN MOTION CORPORATION,

              Defendant.

                    JOINT STIPULATION OF DATA CARRIERS LLC
                     AND RESEARCH IN MOTION CORPORATION

       Plaintiff Data Carriers, LLC (“Data Carriers”) and Defendant Research In Motion

Corporation (“RIM”) hereby stipulate as follows:

       1.     IT IS HEREBY STIPULATED by the parties, subject to the approval of the

Court, that the time for the defendants to move, answer or otherwise respond to the First

Amended Complaint (D.I. 11) is extended to July 16, 2012.
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SO ORDERED this ____ day of _________________________, 2012.



                                       UNITED STATES DISTRICT JUDGE




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